Case 8:08-cv-01706-DKC Document 28 Filed 03/06/09 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
MARYLAND SOUTHERN DIVISION

LATRESS WILLIAMS, *

Plaintiff, *
V. * Case No.: DKC 08 CV 1706
HOLY CROSS HOSPITAL OF *

SILVER SPRING, INC.,

Defendants.

 

CERTIFICATE REGARDING DISCOVERY
| HEREBY CERTIFY that on the 6th day of March, 2009, a copy of the
Defendant Holy Cross Hospital Of Silver Spring, Inc.’s Preliminary Rule

26(A)(2) Statement was sent via e-mail:

Henry E. Dugan, Jr., Esquire Benjamin S. Vaughan, Esquire

Alison D. Kohler, Esquire Jeremy R. Krum, Esquire

1966 Greenspring Drive Armstrong, Donohue, Ceppos, Vaughan
Suite 500 204 Monroe Street, Suite 101
Timonium, MD 21093 Rockville, MD 20850

and that | will retain the original of said document in my possession, without
alteration, until this case is concluded in this Court, the time for noting an appeal

has expired and any appeal has been decided.

 
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Respectfully Submitted,
MP etl

David A. Levin, Esquire

Michelle R. Mitchell, Esquire
Wharton Levin Ehrmantraut & Klein
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410-263-5900

Attorneys for Defendant, Holy
Cross Hospital of Silver Spring, Inc.

Certificate of Service

| hereby certify that on the 6th day of March, 2009, a copy of the foregoing
was served via first class mail, to:

Henry E. Dugan, Jr., Esquire Benjamin S. Vaughan, Esquire

Alison D. Kohler, Esquire Jeremy R. Krum, Esquire

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AMV ketl Ce

Michelle R. Mitchell

 

 
